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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 BEATRIZ LAGUERRE SAAVEDRA, et al.

             Plaintiffs,

                 v.
                                                      CIVIL NO.: 15-2436 (MEL)
 EDITORIAL CULTURAL, INC.,

            Defendant.


                                   OPINION AND ORDER

       Beatriz Laguerre Saavedra, et al. (“Plaintiffs”) filed a third amended complaint against

Editorial Cultural, Inc. (“Defendant”) on April 2, 2018. ECF No. 111. Plaintiffs requested that

Defendant cancel copyright registration numbers for La Llamarada and La Resaca by Enrique

Laguerre, render an account on all units of La Llamarada and La Resaca sold since 2008, and pay

actual damages and profits for copyright infringement. Id. at 6. Pending before the court is

Defendant’s motion for partial summary judgment. ECF No. 113. Defendant argues in its motion

for partial summary judgment that Plaintiffs’ claim as to the third cause of action (copyright

infringement) in the third amended complaint is time barred and should be dismissed with

prejudice. Id. at 1. In their response in opposition, Plaintiffs reject the arguments made within

Defendant’s motion for partial summary judgment. ECF No. 117. Defendant subsequently filed

a reply to Plaintiffs’ opposition. ECF No. 123.

I.     STANDARD OF REVIEW

       The purpose of summary judgment “is to pierce the boilerplate of the pleadings and assay

the parties’ proof in order to determine whether trial is actually required.” Wynne v. Tufts Univ.

Sch. of Med., 976 F.2d 791, 794 (1st Cir. 1992) (citations omitted). Summary judgment is granted
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when the record shows that “there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a). “A dispute is genuine if the evidence

about the fact is such that a reasonable jury could resolve the point in the favor of the non-moving

party. A fact is material if it has the potential of determining the outcome of the litigation.”

Farmers Ins. Exch. v. RNK, Inc., 632 F.3d 777, 782 (1st Cir. 2011) (quoting Rodríguez-Rivera v.

Federico Trilla Reg’l Hosp., 532 F.3d 28, 30 (1st Cir. 2008)).

       The party moving for summary judgment bears the burden of showing the absence of a

genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the

movant presents a properly focused motion “averring ‘an absence of evidence to support the

nonmoving party’s case[,]’ [t]he burden then shifts to the nonmovant to establish the existence of

at least one fact issue which is both ‘genuine’ and ‘material.’” Griggs-Ryan v. Smith, 904 F.2d

112, 115 (1st Cir. 1990) (quoting Garside v. Osco Drug, Inc., 895 F.2d 46, 48 (1st Cir. 1990)). For

issues where the nonmoving party bears the ultimate burden of proof, the party cannot merely “rely

on an absence of competent evidence, but must affirmatively point to specific facts [in the record]

that demonstrate the existence of an authentic dispute.” McCarthy v. Nw. Airlines, Inc., 56 F.3d

313, 315 (1st Cir. 1995) (citation omitted).           The party need not, however, “rely only on

uncontradicted evidence . . . . So long as the [party]’s evidence is both cognizable and sufficiently

strong to support a verdict in her favor, the factfinder must be allowed to determine which version

of the facts is most compelling.” Calero-Cerezo v. U.S. Dep’t of Justice, 355 F.3d 6, 19 (1st Cir.

2004) (emphasis in original) (citation omitted).

       In assessing a motion for summary judgment, the court “must view the entire record in the

light most hospitable to the party opposing summary judgment, indulging all reasonable inferences

in that party’s favor.”   Griggs-Ryan, 904 F.2d at 115.          There is “no room for credibility



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determinations, no room for the measured weighing of conflicting evidence such as the trial

process entails, [and] no room for the judge to superimpose his own ideas of probability and

likelihood.” Greenburg v. P. R. Mar. Shipping Auth., 835 F.2d 932, 936 (1st Cir. 1987). The

court may, however, safely ignore “conclusory allegations, improbable inferences, and

unsupported speculation.” Medina-Muñoz v. R.J. Reynolds Tobacco Co., 896 F.2d 5, 8 (1st Cir.

1990) (citations omitted).

II.    UNCONTESTED MATERIAL FACTS

       On April 12, 2013, the Department of Education of the Government of Puerto Rico (“DE”)

made purchase orders of three copies of Roberto Ramos Perea’s theatrical adaptation of La

Llamarada and three copies of Mr. Perea’s theatrical adaptation of La Resaca. ECF Nos. 114, at

1, ¶ 1; 118, at 1, ¶ 1. On April 16, 2013, Defendant issued invoices to the DE for the purchase

orders. ECF Nos. 114, at 2, ¶ 2; 118, at 1, ¶ 2. On May 24, 2013, the DE paid Defendant’s

invoices. ECF Nos. 114, at 2, ¶ 3; 118, at 1, ¶ 3.

       On May 13, 2013, the DE made purchase orders of 9,000 copies of Mr. Perea’s theatrical

adaptation of La Llamarada and 9,000 copies of Mr. Perea’s theatrical adaptation of La Resaca.

ECF Nos. 114, at 2, ¶ 4; 118, at 1, ¶ 4. On May 28, 2013, Defendant requested that Extreme

Graphics print 9,000 copies of Mr. Perea’s theatrical adaptation of La Llamarada with the DE’s

logo, 1,000 copies of Mr. Perea’s theatrical adaptation of La Llamarada with Defendant’s logo,

9,000 copies of Mr. Perea’s theatrical adaptation of La Resaca with the DE’s logo, and 1,000

copies of Mr. Perea’s theatrical adaptation of La Resaca with Defendant’s logo. ECF Nos. 125-8;

125-9. In June 2013, Defendant delivered 9,000 copies of Mr. Perea’s theatrical adaptations of La

Llamarada and La Resaca to the DE. ECF Nos. 114, at 2, ¶ 6; 118, at 2, ¶ 6.




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         On July 18, 2013, Extreme Graphics issued invoices to Defendant for copies of Mr. Perea’s

theatrical adaptation of La Llamarada and copies of Mr. Perea’s theatrical adaptation of La Resaca.

ECF Nos. 114, at 2, ¶ 7; 118, at 2, ¶ 7. On July 26, 2013, Defendant issued invoices to the DE for

9,000 copies of Mr. Perea’s theatrical adaptation of La Llamarada and 9,000 copies of Mr. Perea’s

theatrical adaptation of La Resaca. ECF Nos. 114, at 2, ¶ 8; 118, at 2, ¶ 8. On September 3, 2013,

the DE paid Defendant’s invoices. ECF Nos. 114, at 3, ¶ 9; 118, at 2, ¶ 9.

         After June 2013, Defendant did not publish any other copies of Mr. Perea’s theatrical

adaptations of La Llamarada and La Resaca. 1 ECF Nos. 114, at 3, ¶ 10; 118, at 2, ¶ 10.

III.     LEGAL ANALYSIS AND DISCUSSION

         Defendant argues that the third cause of action must be dismissed because is time barred

due to the statute of limitations established in 17 U.S.C. § 507(b), which provides that “[n]o civil

action shall be maintained under the provisions of this title unless it is commenced within three

years after the claim accrued.” Thus, if the last time the theatrical adaptations of La Llamarada

and La Resaca were published was June 2013, the statute of limitations to file a claim for copyright

infringement expired in June 2016, and the complaint was not amended to substitute the plaintiff

in the third cause of action (copyright infringement) until April 2, 2018.

         Plaintiffs raise three arguments as to why the third cause of action is not time barred. First,

Plaintiffs contend that when an amendment to the complaint only substitutes the claimant, without

adding a claim, Federal Rule of Civil Procedure 17(a) mandates that the action proceed as if it had

been originally commenced by the new claimant. Second, Plaintiffs contend that the amendment

to the third amended complaint relates back to the date of the original complaint under Federal




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 Plaintiffs admitted Defendant’s factual paragraph 10 to the extent that the term “published” refers to the act of having
Extreme Graphics print copies of each theatrical adaptation. ECF No. 118, at 2, ¶ 10.

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Rule of Civil Procedure 15(c) (“Rule 15(c)”). Third, Plaintiffs contend that the statute of

limitations for the third cause of action was equitably tolled.

       There are no grounds for applying the doctrine of equitable tolling to the matter at hand.

See Wilson v. U.S. Gov’t, 23 F.3d 559, 561–62 (1st Cir. 1994) (“Wilson asks us to toll the statute

of limitations because he purportedly was unaware at the time he filed suit that the United States,

rather than GEGS, owned the SEPTAR on which he was injured. He further states that GEGS’s

delay in filing a motion for summary judgment on these grounds caused undue delay in

determining the ownership of the SEPTAR . . . . [W]e see no reason to toll the statute of limitations

based on the actions of GEGS in this case.”). Further, “in considering the problem of the

substituted plaintiff,” courts have held that Federal Rule of Civil Procedure 17(a) and Rule 15(c)

“harmonize completely.” Unilever (Raw Materials) Ltd. v. M/T Stolt Boel, 77 F.R.D. 384, 389

(S.D.N.Y. 1977).     Accordingly, a discussion of Federal Rule of Civil Procedure 17(a) is

unnecessary. The analysis will focus on Plaintiffs’ argument under Rule 15(c).

       Rule 15(c)(1)(C) states that an amendment to a pleading relates back to the date of the

original pleading when the amendment changes the party against whom a claim is asserted. Rule

15(c)(1)(C) is satisfied if the party to be brought in by amendment received such notice of the

action that it will not be prejudiced in defending on the merits and knew or should have known

that the action would have been brought against it, but for a mistake concerning the proper party’s

identity. While “[t]he relation back of amendments changing plaintiffs is not expressly treated in

Rule 15(c),” “the attitude taken in . . . Rule 15(c) toward change of defendants extends by analogy

to amendments changing plaintiffs.” Fed.R.Civ.P. 15 Advisory Committee Notes (1966).

       In the First Circuit, when an amendment to a complaint substitutes a new plaintiff for the

original one, three requirements must be met if the new plaintiff’s claim is to relate back. First,



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the amended complaint must arise out of the conduct, transaction, or occurrence set forth in the

original complaint. Second, there must be a sufficient identity of interest between the new plaintiff,

the original plaintiff, and their respective claims so that the defendants can be said to have been

given fair notice of the new plaintiff’s claim. Third, undue prejudice must be absent. Allied Int’l,

Inc. v. Int’l Longshoremen’s Ass’n, AFL-CIO, 814 F.2d 32, 35–36 (1st Cir. 1987).

       Here, the third cause of action in the third amended complaint clearly arises out of the

conduct, transaction, or occurrence set forth in the original complaint because “other than the

change in the plaintiff’s identity, no new allegations [have been] . . . made. The conduct

complained of [i]s precisely the same.” Id. at 36.

       Turning to the identity of interest requirement, “the cases clearly state that notice is the

critical element involved in Rule 15(c) determinations.” Staren v. Am. Nat. Bank & Tr. Co. of

Chicago, 529 F.2d 1257, 1263 (7th Cir. 1976). Here, Defendant was on notice of the third cause

of action from the inception of the suit because the original complaint and the third amended

complaint contain the same averment: that Defendant’s printing and sale of the theatrical

adaptations constituted copyright infringement. See Allied Int’l, Inc., 814 F.2d at 36–37 (“[T]he

union was on clear notice of all of the actual claims . . . . [B]oth the original and the amended

complaints contained the [same] . . . averment.”); Staren, 529 F.2d at 1263 (“[S]ubstitution of

[plaintiffs] . . . after the applicable statute of limitations may have run is not significant when the

change is merely formal and in no way alters the known facts and issues on which the action is

based.”); Besig v. Dolphin Boating & Swimming Club, 683 F.2d 1271, 1278–79 (9th Cir. 1982)

(“Notice from a previous complaint . . . is adequate when substituting plaintiffs . . . [where] the

change merely brings in the real party in interest or accomplishes some similar technical result.”).




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        In its reply in opposition, Defendant cites to Young v. Lepone, 305 F.3d 1, 15 (1st Cir.

2002), in which the First Circuit held that stockholders not related to each other except by that

status did not share a sufficient identity of interest to meet the requirements of Rule 15(c).

However, in that case, the amended complaint sought to add claims by new plaintiffs (the

stockholders) that differed from the original claim. The First Circuit explained that it “repudiate[d]

the conceit that an action filed by one plaintiff gives a defendant notice of the impending joinder

of any or all similarly situated plaintiffs. Such a rule would undermine applicable statutes of

limitations and make a mockery of the promise of repose.” Id. at 15-16. Here, Plaintiffs did not

add claims to the third amended complaint that differed from the third cause of action, but rather

substituted new plaintiffs for the original one in the third cause of action. Thus, Young is

inapposite. Compare id. with Allied Int’l, Inc., 814 F.2d at 38 (allowing the amendment of the

complaint to substitute as plaintiff a corporation that had purchased the assets of the original

plaintiff).

        As to undue prejudice, on March 21, 2018, a pretrial and settlement conference was held,

in which the court granted Plaintiffs until March 26, 2018 to file a third amended complaint only

for purposes of amending the third cause of action. ECF No. 124. The court also granted the

parties until April 10, 2018 to conclude discovery as to the third cause of action. Id. Not

surprisingly, in light of the fact that the parties had already had plenty of time to conduct discovery,

the parties did not object to the April 10, 2018 discovery deadline regarding the third cause of

action. ECF Nos. 29; 124. Further, Defendant did not move for postponement or enlargement of

either the discovery phase regarding the third cause of action or trial. Hence, “[a]ny claim of

prejudice under such circumstances is necessarily a feeble one.” Allied Int’l, Inc., 814 F.2d at 37.




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IV.    CONCLUSION

       For the foregoing reasons, pursuant to Rule 15(c), the substitution of plaintiffs relates back

to the original complaint. Thus, Defendant’s motion for partial summary judgment (ECF No. 113)

is DENIED.

       IT IS SO ORDERED

       In San Juan, Puerto Rico, this 11th day of December, 2018.

                                                      s/Marcos E. López
                                                      U.S. Magistrate Judge




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